Appeal: 12-1591   Doc: 34       Filed: 05/29/2013   Pg: 1 of 12




                                          UNPUBLISHED

                              UNITED STATES COURT OF APPEALS
                                  FOR THE FOURTH CIRCUIT


                                          No. 12-1591


        CVLR PERFORMANCE HORSES, INC.,

                            Plaintiff – Appellant,

                    v.

        JOHN L. WYNNE; 1650 PARTNERS, LLC; RIVERMONT CONSULTANTS,
        INC., f/k/a The Rivermont Banking Co., Inc.,

                            Defendants – Appellees,

                    and

        OLD DOMINION NATIONAL BANK; ADVANTAGE TITLE & CLOSING LLC;
        S & R FARM, LLC; RALPH BECK; SHANA LESTER, f/k/a Shana Beck,

                            Defendants.



                                          No. 12-1787


        CVLR PERFORMANCE HORSES, INC.,

                            Plaintiff – Appellant,

                    v.

        JOHN L. WYNNE; 1650 PARTNERS, LLC; RIVERMONT CONSULTANTS,
        INC., f/k/a The Rivermont Banking Co., Inc.,

                            Defendants – Appellees,

                    and




      Case 6:11-cv-00035-NKM-RSB Document 84 Filed 05/29/13 Page 1 of 12 Pageid#: 838
Appeal: 12-1591   Doc: 34       Filed: 05/29/2013       Pg: 2 of 12




        OLD DOMINION NATIONAL BANK; ADVANTAGE TITLE & CLOSING LLC;
        S & R FARM, LLC; RALPH BECK; SHANA LESTER, f/k/a Shana Beck,

                            Defendants.



        Appeals from the United States District Court for the Western
        District of Virginia, at Lynchburg.    Norman K. Moon, Senior
        District Judge. (6:11-cv-00035-NKM)


        Argued:    March 21, 2013                                 Decided:   May 29, 2013


        Before TRAXLER, Chief Judge, SHEDD, Circuit Judge, and David A.
        FABER, Senior United States District Judge for the Southern
        District of West Virginia, sitting by designation.


        Reversed in part, dismissed in part, and remanded by unpublished
        opinion.   Judge Shedd wrote the opinion, in which Chief Judge
        Traxler and Senior Judge Faber joined.


        ARGUED: Gary M. Bowman, Roanoke, Virginia, for Appellant. Chad
        Allan Mooney, PETTY, LIVINGSTON, DAWSON & RICHARDS, PC,
        Lynchburg, Virginia, for Appellees. ON BRIEF: John E. Falcone,
        PETTY, LIVINGSTON, DAWSON & RICHARDS, PC, Lynchburg, Virginia,
        for Appellees.


        Unpublished opinions are not binding precedent in this circuit.




                                                    2

      Case 6:11-cv-00035-NKM-RSB Document 84 Filed 05/29/13 Page 2 of 12 Pageid#: 839
Appeal: 12-1591        Doc: 34          Filed: 05/29/2013        Pg: 3 of 12




        SHEDD, Circuit Judge:

                  CVLR Performance Horses, Inc. appeals the district court’s

        order dismissing its claims against John Wynne, 1650 Partners,

        LLC, and Rivermont Consultants, Inc. pursuant to Federal Rule of

        Civil Procedure 12(b)(6).                    For the reasons explained below, we

        reverse          the     district      court’s      order          and    remand      for     further

        proceedings. 1

                                                           I.

                  Because        this   appeal      stems       from       a     dismissal     under       Rule

        12(b)(6),         we     accept       the   facts       as    alleged         in    CVLR’s    Amended

        Complaint.             See Martin Marietta v. Int’l. Tel. Satellite Org.,

        991 F.2d 94, 97 (4th Cir. 1992).                              Wynne is the sole owner of

        Rivermont and 1650 Partners, both of which Wynne used in his

        fraudulent schemes.                   Although Rivermont was not authorized at

        any relevant time to engage in banking activities under Virginia

        law,          Wynne    held     out    Rivermont         as    a       bank    as    part     of   his

        enterprise and used this entity in various ways to facilitate

        his       fraudulent          schemes,      many        of    which       “targeted      women      in

        financial distress, who thought he was a banker.”                                            J.A. 57.

        Wynne “continues to advertise [Rivermont] on the internet as a

                  1
               CVLR also appeals the district court’s                                  order denying its
        motion for relief from the order granting the                                  Appellees’ motion
        to dismiss.   Because we reverse the district                                  court’s dismissal
        of CVLR’s complaint, we dismiss this portion                                   of the appeal as
        moot.



                                                            3

      Case 6:11-cv-00035-NKM-RSB Document 84 Filed 05/29/13 Page 3 of 12 Pageid#: 840
Appeal: 12-1591        Doc: 34           Filed: 05/29/2013       Pg: 4 of 12




        bank, providing mortgage loans, construction loans, and reverse

        mortgages.”          J.A. 57 (internal quotation marks omitted).

                  We    first     discuss      the    schemes       that       involved   CVLR or        its

        President,          Crystal        Rivers.         In      late   2006,     Wynne    advertised

        pasture land for rent, and Rivers responded to the advertisement

        on    behalf        of     CVLR.          After      Rivers       contacted       Wynne,        Wynne

        convinced her to purchase a horseback riding center for CVLR.

        Wynne told Rivers that Rivermont was a bank that would finance

        the purchase.             However, because Rivermont was not a bank, Wynne

        arranged          for      Old     Dominion        National        Bank     to    provide        the

        financing.               Wynne     then      proceeded       to    cut     CVLR    out     of    the

        transaction          and     arranged        for     1650     Partners      to    purchase       the

        riding center with Rivers serving as a guarantor on the loan

        from Old Dominion to 1650 Partners.                           Even after the transaction

        was complete, Rivers incorrectly believed that CVLR owned the

        riding center.

                  In February 2007, Wynne worked with Rivers to purchase and

        finance a truck for CVLR’s use.                          However, unbeknownst to Rivers,

        Wynne engaged in a series of acts over the next seven months

        that left Rivermont owning the truck and CVLR obligated to repay

        the   loan.              Wynne    also    told       the    financing       institution         that

        Rivermont would purchase insurance on the truck, but he arranged

        for Rivers to insure it instead.



                                                             4

      Case 6:11-cv-00035-NKM-RSB Document 84 Filed 05/29/13 Page 4 of 12 Pageid#: 841
Appeal: 12-1591     Doc: 34       Filed: 05/29/2013       Pg: 5 of 12




                  Also in February 2007, Wynne purchased another truck in

        Rivermont’s        name   but    added     it     to    Rivers’       insurance    policy

        without      her   knowledge.          Thereafter,      Wynne’s       son   totaled     the

        truck.       At that point, Wynne convinced Rivers’ insurance company

        that Rivers was not the insured party and that the insurance

        company should pay Wynne the value of the truck.                              Thus, the

        insurance company paid Wynne $10,630.

                  Wynne proceeded to divert more insurance funds from CVLR to

        Rivermont over the first several months of 2008.                        Because Rivers

        believed that CVLR owned the riding center, she insured it, and,

        when high winds damaged the riding center’s barn, CVLR filed an

        insurance claim.          The insurance company approved the claim and

        issued checks jointly to CVLR and Old Dominion, the bank that

        held the mortgage on the riding center.                    Wynne then asked an Old

        Dominion employee to transfer the funds into the account of 1650

        Partners, telling the employee that he would use the money to

        repair      the    wind   damage   and    make      “capital      additions”       to   the

        riding center.        J.A. 21 (internal quotation marks omitted).                       The

        Amended Complaint does not indicate whether the Old Dominion

        employee complied.              However, it alleges that Wynne submitted

        false        invoices      to      the     insurance            company      and        made

        misrepresentations         to    Old    Dominion       that     led   Old   Dominion     to

        believe that one of Wynne’s employees had repaired the barn,

        which, in fact, remained unrepaired.                     Old Dominion then issued

                                                      5

      Case 6:11-cv-00035-NKM-RSB Document 84 Filed 05/29/13 Page 5 of 12 Pageid#: 842
Appeal: 12-1591        Doc: 34          Filed: 05/29/2013        Pg: 6 of 12




        checks         to     Wynne’s       employee,           who    endorsed      the     checks    to

        Rivermont.

                  By    October      2008,      Rivers       had       become    a   member    of     1650

        Partners.           Wynne exploited Rivers’ status as a member by forging

        her signature on a 1650 Partners check to himself for $3000.

                  Wynne also used Rivermont and 1650 Partners in schemes that

        did not involve CVLR or Rivers.                         For example, Karen Foster, who

        believed         that     Rivermont       was       a    bank,     sought     financing       from

        Rivermont in early 2006.                   Over time, Wynne loaned Foster small

        amounts of money, and Foster came to consider Wynne a friend.

        In    August         2006,      Wynne    convinced            Foster    to   execute    a     note

        agreeing to repay him $40,000 for the series of small loans he

        had made and to secure the note with Foster’s home.                                         Wynne

        listed Foster’s home as an asset on a financial statement he

        submitted to a bank in conjunction with a loan he sought for

        1650 Partners.             On that financing statement, Wynne stated that

        the   home          was   not    subject     to     any       mortgage,      which    was   false

        because Bank of America held a mortgage on the home.                                   The bank

        made the loan in April 2009 based, in part, on Wynne’s false

        representation in the financial statement.

                  Finally, Wynne used Rivermont in a scheme against another

        acquaintance, Vicki Marsh.                      In November 2006, Wynne bought a

        certificate of deposit for Rivermont from First Bank and Trust

        Company.         He then used his status as a customer of First Bank to

                                                            6

      Case 6:11-cv-00035-NKM-RSB Document 84 Filed 05/29/13 Page 6 of 12 Pageid#: 843
Appeal: 12-1591     Doc: 34          Filed: 05/29/2013        Pg: 7 of 12




        convince      the     bank     to    open    a       credit    line    for      Marsh,       which

        increased       her    credit        score.            With     Marsh’s         credit       score

        increased, another bank was willing to loan her approximately

        $500,000,      secured       by     a mortgage         on her       property      on   Pawley’s

        Island,       South    Carolina.            However,          Wynne    arranged        for    the

        $500,000 to be paid to him, not Marsh.                          Wynne made payments on

        the   loan     for    approximately 18               months    until      he    ceased   making

        payments in September 2008.                  Once the payments had fallen into

        arrears, Wynne attempted to purchase Marsh’s interest in the

        home from the mortgage holder for a reduced price.

                                                     II.

                  CVLR sued the Appellees and several other defendants in

        federal       court,     asserting           one        claim       for        violating       the

        Racketeering and Corrupt Organizations Act (“RICO”), 18 U.S.C. §

        1962, and three state-law claims.

                  The Appellees moved to dismiss under Rule 12(b)(6), arguing

        that the Amended Complaint failed to state a claim upon which

        relief may be granted as to each count asserted against the

        Appellees.       The district court granted the motion as to the RICO

        claim.       Because no federal claims remained in the litigation,

        the        district     court         declined          to      exercise         supplemental

        jurisdiction and dismissed the action.                         CVLR filed a Rule 60(b)

        motion for relief from the dismissal, which the district court

        denied.

                                                         7

      Case 6:11-cv-00035-NKM-RSB Document 84 Filed 05/29/13 Page 7 of 12 Pageid#: 844
Appeal: 12-1591     Doc: 34         Filed: 05/29/2013         Pg: 8 of 12




                                                     III.

                  We review the district court's dismissal of CVLR’s RICO

        claim de novo.            Wag More Dogs, Ltd. Liab. Corp. v. Cozart, 680

        F.3d 359, 364–65 (4th Cir. 2012).                           To survive the Appellees’

        Rule 12(b)(6) motion, CVLR’s Amended Complaint must establish

        “facial plausibility” by pleading “factual content that allows

        the court to draw the reasonable inference that [the Appellees

        are] liable for the misconduct alleged.”                            Ashcroft v. Iqbal, 556

        U.S. 662, 678 (2009).

                  RICO    imposes      civil        liability         for      various       types    of

        “racketeering         activity,”            18   U.S.C.       §     1962,    and    should    be

        “liberally        construed      to     effectuate            its     remedial      purposes.”

        Boyle      v.    United    States,     556       U.S.       938,    944    (2009)    (internal

        citations        omitted).       Although            “[t]he    occasion       for    Congress’

        action [when it passed RICO] was the perceived need to combat

        organized        crime,”     RICO      is    “not          limited    in     application      to

        organized crime.” H.J. Inc. v. Nw. Bell Tel. Co., 492 U.S. 229,

        248 (1989).           Courts have thus applied RICO in a variety of

        contexts outside the realm of traditional organized crime.                                   See,

        e.g.,      United     States    v.    Pryba,         900    F.2d     748    (4th    Cir.   1990)

        (applying RICO against pornographers); Northeast Women’s Ctr.,

        Inc. v. McMonagle, 868 F.2d 1342 (3d Cir. 1989) (applying RICO

        against antiabortion activists).



                                                         8

      Case 6:11-cv-00035-NKM-RSB Document 84 Filed 05/29/13 Page 8 of 12 Pageid#: 845
Appeal: 12-1591        Doc: 34          Filed: 05/29/2013       Pg: 9 of 12




                  Among other things, RICO prohibits being “associated with

        any enterprise . . . [and] conduct[ing] or participat[ing] . . .

        in the conduct of such enterprise’s affairs through a pattern of

        racketeering activity.”                     18 U.S.C. § 1962(c).                To allege “a

        pattern of racketeering activity,” a plaintiff must allege acts

        of racketeering that are both related and continuous.                                 GE Inv.

        Private Placement Partners II v. Parker, 247 F.3d 543, 549 (4th

        Cir. 2001).            The district court found that the racketeering acts

        alleged          in      the    Amended       Complaint          were     not    sufficiently

        continuous to support a RICO claim. 2                         We disagree.

                  Two types of continuity can support a RICO claim: “closed-

        ended” or “open-ended.”                 Id.    Although, the district court found

        that the Amended Complaint did not plead sufficient facts to

        show          either     type    of    continuity,            CVLR    only   challenges      the

        district court’s conclusion that the Amended Complaint fails to

        support an inference of open-ended continuity.                                  We find that

        facts pled in the Amended Complaint do support an inference of

        open-ended            continuity      and     that      the    district      court   erred    by

        concluding otherwise.

                  2
               RICO defines “racketeering activity” as “‘any act or
        threat   involving’  specified   state-law   crimes,  any   ‘act’
        indictable under various specified federal statutes, and certain
        federal ‘offenses.’”    H.J. Inc., 492 U.S. at 232 (quoting 18
        U.S.C. § 1961(1)). The Appellees do not argue that the Amended
        Complaint failed to allege “racketeering activity” within the
        meaning of RICO or that the acts of racketeering were unrelated.



                                                            9

      Case 6:11-cv-00035-NKM-RSB Document 84 Filed 05/29/13 Page 9 of 12 Pageid#: 846
Appeal: 12-1591     Doc: 34         Filed: 05/29/2013        Pg: 10 of 12




                  In H.J. Inc., 492 U.S. at 241, the Supreme Court stated

        that a plaintiff establishes open-ended continuity by showing

        “past conduct that by its nature projects into the future with a

        threat of repetition.”                  The Court gave several examples—that

        were       illustrative         but    not     exhaustive—of            facts   that     would

        establish         open-ended          continuity.             One       example       involved

        racketeering acts that, on their face, pose “a distinct threat

        of long-term racketeering activity,” such as where a hoodlum

        demands payment from storekeepers not to break their windows and

        states      that      he   will       return    each       month     demanding     the       same

        payment.           Id.     at   242.         The     two     other      examples      involved

        situations        where     racketeering           acts     are    “part   of    an    ongoing

        entity’s regular way of doing business.”                          Id.

                  The district court’s analysis focused on the first example

        from H.J. Inc. and concluded that CVLR failed to plead open-

        ended continuity because each racketeering act did not, on its

        face, threaten to continue long term.                             However, the district

        court’s      analysis       overlooked         the   more     general      point      that   the

        Appellees’ conduct “projects into the future with a threat of

        repetition.”          Id. at 241.            The Amended Complaint alleges that

        Wynne used Rivermont and 1650 Partners for over three years in a

        series       of    racketeering         acts.          In     particular,       Rivermont’s

        function as a bank was an integral part of the RICO operation

        because Wynne lured victims into the scheme by holding Rivermont

                                                        10

      Case 6:11-cv-00035-NKM-RSB Document 84 Filed 05/29/13 Page 10 of 12 Pageid#: 847
Appeal: 12-1591     Doc: 34           Filed: 05/29/2013     Pg: 11 of 12




        out as a bank or otherwise used Rivermont to facilitate his

        scheme.         CVLR also alleges that Rivermont continues to advertise

        as a bank, and the Amended Complaint creates no inference that

        Rivermont has ended its fraudulent activities.                            Therefore, the

        allegations        in     the    complaint        support    an    inference     that    the

        activity “projects into the future with a threat of repetition”

        and that racketeering acts are the Appellees’ “regular way of

        doing business.”              Id. 241, 242; see also EPlus Technology Inc.

        v. Aboud, 313 F.3d 166, 182-83 (4th Cir. 2002) (three examples

        of looting companies of assets prior to filing for bankruptcy

        established open-ended continuity).

                  The    district       court      also     concluded      that    the    Amended

        Complaint        fails     to    plead     open-ended        continuity     because      the

        Appellees’         racketeering          activity      had     a    “‘built-in        ending

        point’.”        J.A.    104     (quoting    GE    Investment,      247    F.3d   at    549).

        Specifically, the district court found it implausible that the

        racketeering acts would continue into the future because all of

        the   victims          identified     in    the    Amended     Complaint     “have      been

        bilked” and, presumably, know better than to do more business

        with Appellees.           J.A. 105.        Again, we disagree.            “The lack of a

        threat of continuity of racketeering activity cannot be asserted

        merely by showing a fortuitous interruption of that activity.”

        United States v. Busacca, 936 F.2d 232, 238 (6th Cir. 1991).

        Instead, “the threat of continuity must be viewed at the time

                                                      11

      Case 6:11-cv-00035-NKM-RSB Document 84 Filed 05/29/13 Page 11 of 12 Pageid#: 848
Appeal: 12-1591     Doc: 34         Filed: 05/29/2013      Pg: 12 of 12




        the racketeering activity occurred.”                       Id.        Here, as explained

        above, at the time the Appellees’ acts occurred, the conduct

        “project[ed] into the future with a threat of repetition,” H.J.

        Inc., 492 U.S. at 241, and there was no other indication that

        Wynne’s         conduct    was    to   be    limited       to     only       the     identified

        victims.           Thus,    the    victims’        discovery          of     the     Appellees’

        misconduct does not prevent CVLR from establishing open-ended

        continuity.

                  In sum, we conclude that the Amended Complaint pleads open-

        ended       continuity.           Because        the    district       court        based    its

        dismissal        on    a   conclusion       to    the    contrary,          we     reverse   the

        district court’s order granting the motion to dismiss.

                                                     IV.

                  For    the   reasons     explained           above,    we        (1)     reverse   the

        district court’s order granting Appellees’ motion to dismiss,

        (2) dismiss as moot CVLR’s Rule 60(b) motion, and (3) remand for

        further proceedings in the district court.

                                                                                REVERSED IN PART,
                                                                               DISMISSED IN PART,
                                                                                     AND REMANDED




                                                     12

      Case 6:11-cv-00035-NKM-RSB Document 84 Filed 05/29/13 Page 12 of 12 Pageid#: 849
